                       Case 3:18-md-02843-VC Document 1074-1 Filed 11/04/22 Page 1 of 4


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           10
                    Attorneys for Defendant Facebook, Inc.
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           13                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           14                                       SAN FRANCISCO DIVISION

           15

           16      IN RE: FACEBOOK, INC. CONSUMER PRI-           CASE NO. 3:18-MD-02843-VC
                   VACY USER PROFILE LITIGATION,
           17                                                    DECLARATION OF DEBORAH STEIN IN
                                                                 SUPPORT OF FACEBOOK, INC.’S
           18      This document relates to:                     STATEMENT IN SUPPORT OF
                                                                 PLAINTIFFS’ ADMINISTRATIVE
           19      ALL ACTIONS                                   MOTION TO CONSIDER WHETHER
                                                                 ANOTHER PARTY’S MATERIALS
           20                                                    SHOULD BE SEALED
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                     DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &       PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
Crutcher LLP
                                                     SHOULD BE SEALED
                                                   CASE NO 3:18-MD-02843-VC
                        Case 3:18-md-02843-VC Document 1074-1 Filed 11/04/22 Page 2 of 4


               1           I, Deborah Stein, hereby declare as follows:
               2           1.     I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
               3
                   Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of the
               4
                   State Bars of California and New York. I submit this declaration in support of Facebook’s Statement
               5
                   in Support of Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Materials Should
               6

               7   Be Sealed. I make this declaration on my own knowledge, and I would testify to the matters stated

               8   herein under oath if called upon to do so.

               9           2.     Attached as Exhibits 1-A and 2-A are true and correct unredacted copies of the depo-
           10
                   sition transcripts of David Miller and Michael Fahey.
           11
                           3.     Attached as Exhibits 1-B and 2-B are true and correct redacted copies of the deposition
           12
                   transcripts of David Miller and Michael Fahey.
           13
                           4.     Attached as Exhibits 105-A and 105-B are true and correct unredacted and redacted
           14

           15      copies, respectively, of the deposition transcripts of Simon Cross, previously filed at Dkts. 1038-8 and

           16      1038-16.
           17              5.     Facebook proposes redacting confidential information regarding its data systems and
           18
                   Facebook’s proprietary video technology, data tracking, and data storage and processing practices.1
           19
                   How Facebook stores, manages, tracks, preserves, deletes, and processes data and video content for
           20
                   billions of users across its data systems are key components of its business that set it apart and ahead
           21

           22      of its competitors. I understand that, if publicly disclosed, Facebook’s competitors could take ad-

           23      vantage of this information to improve their own methods for managing high volumes of user data or

           24      video, or for tracking and storing user data or video metrics across data systems, to Facebook’s com-
           25      petitive disadvantage. Hackers and other bad actors also could use this information to better understand
           26

           27      1
                    Miller Dep. Tr. at 115:1-116:9, 116:19-117:7, 117:9-22; Fahey Dep. Tr. at 28:25-30:1, 82:9-13, 16-
                   21; Ex. 105 (See Dkt. 1046-2, listing specific redactions for Cross transcript).
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                       DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
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                                                     CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1074-1 Filed 11/04/22 Page 3 of 4


               1   Facebook’s data and video systems and target specific repositories of data, potentially harming both
               2   Facebook and its users.
               3
                             6.     Facebook proposes redacting confidential and competitively sensitive information re-
               4
                   garding its business programs, strategies, decisions, and partners.2 This information also includes con-
               5
                   fidential strategic discussions regarding Facebook’s existing and potential future business models and
               6

               7   strategies, as well as confidential information regarding the identities of and negotiations with entities

               8   with which I understand Facebook has a business relationship. I am informed and believe that, if

               9   publicly disclosed, this information could harm Facebook’s relationships with these entities and under-
           10
                   cut Facebook’s ability to negotiate with competitors of these entities. I am further informed and believe
           11
                   that public disclosure of confidential information regarding Facebook’s business models could allow
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                   Facebook’s competitors to use this information developed at Facebook’s expense to improve or de-
           13
                   velop their own competing techniques, to Facebook’s competitive disadvantage. Additionally, I am
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           15      informed and believe that public disclosure of confidential information regarding Facebook’s business

           16      strategies could allow Facebook’s competitors to copy these strategies, developed at Facebook’s ex-
           17      pense, to more effectively compete with Facebook.
           18
                             7.     Facebook proposes to seal confidential information regarding Facebook’s privacy and
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                   platform policy enforcement practices, including Facebook’s decision-making process for evaluating
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                   apps and developers that may be violating its policies.3 I understand that public disclosure of details
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           22      regarding Facebook’s policy-enforcement efforts would reveal confidential information regarding Fa-

           23      cebook’s internal operations that could be used by bad actors to attempt to circumvent and evade Fa-

           24      cebook’s enforcement strategies, potentially harming Facebook and its users.
           25

           26
                   2
           27          Ex. 105 (See Dkt. 1046-2, listing specific redactions for Cross transcript).
                   3
                       Ex. 105 (See Dkt. 1046-2, listing specific redactions for Cross transcript).
           28
                                                                         2
                        DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &          PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
Crutcher LLP
                                                        SHOULD BE SEALED
                                                      CASE NO 3:18-MD-02843-VC
                       Case 3:18-md-02843-VC Document 1074-1 Filed 11/04/22 Page 4 of 4


               1          I declare under penalty of perjury under the laws of the United States of America that the fore-
               2   going is true and correct.
               3

               4
                   Executed on November 4, 2022 in Los Angeles, California.
               5

               6                                                               /s/ Deborah Stein
                                                                               Deborah Stein
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                     DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
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